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AO 257 (Rev. 6f78)

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:   0   COMPLAINT            O    INFORMATION            � INDICTMENT
                      � SUPERSEDING
�--OFFENSE CHARGED---------�
 COUNT 1: 18 U.S.C. § 371-Consp. To Offer, Pay, Solicit and           □   Petty
 Receive Remun. for the Referral of Medicare Beneficiary;
 COUNTS 2-10: 42 U.S.C. § 1320a-7b(b)(2)(A)- Payment of               □   Minor
 Remun. for Referral of a Medicare Patient; 18 U.S.C. § 2-
 Aiding and Abetting; COUNTS 11-19: 42 U.S.C. § 1320a-7b
 (b)(l )(A)-Solicitation and Receipt of Remun. for Referral of a
                                                                      □   Misde-
                                                                          meanor
 Medicare Patient: 18 U.S.C. & 2-Aidina and Abettina           D
                                                                      □
                                                                      X   Felony
                                                                                                 DISTRICT COURT NUMBER
PENALTY:
               Count 1: Imprisonment 5 yrs, Fine $250,000,                                       CR 18-00373 JST
               Supervised Release 3 yrs, Special Assessment $100
               Counts 2-10 & 11-19: Imprisonment 5 yrs, Fine $25,000,                                                                                               ,

                                                                                                                                                                    I
                                                                                                                                                                        •   ,   4   ,

                                                                                                                                                <                       '
               Supervised Release 3 yrs, Special Assessment$100
                                                                                                                           OEFENDA,.., :- . ·        .J

                               PROCEEDING                                                          IS NOT IN CUSTODY
                                                                                                     Has not been arrested, pending outcome this !=
  Name of Complaintant Agency, or Person (& Title, if any)                                  1)   D   If not detained give date any prior
                                                                                                     summons was served on above charges ._  i,:______
                           FBI SA Michael Tomeno

  □    person is awaiting trial in another Federal or State Court,                         2)    D Is a Fugitive
       give name of court
                                                                                           3) � Is on Bail or Release from (show District)
                                                                                                                                NDCA
  □ per
    this person/proceeding is transferred from another district
         (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                   IS IN CUSTODY
                                                                                           4)    D On this charge
       this is a reprosecution of
  □    charges previously dismissed                                                        5)    D On another conviction              } D
       which were dismissed on motion                                SHOW                                                                           Federal   D State
                                                                   DOCKET NO.
       of:
                                                                                                 D Awaiting trial on other charges
                                                          }
                                                                                           6)
        □ U.S. ATTORNEY □ DEFENSE                                                                     If answer to (6) is "Yes", show name of institution

       this prosecution relates to a
  D pending case involving this same                                                             Has detainer   D Yes             lf "Yes"
       defendant                                                   MAGISTRATE                    been filed?    D No           }  give date
                                                                                                                                  filed
                                                                    CASE NO.


                                                          }
       prior proceedings or appearance(s)                                                        DATE OF        •           Month/Day/Year
  D before U.S. Magistrate regarding this                                                        A RREST
       defendant were recorded under                                                             Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                        DATETRANSFERRED •                       Month/Day/Year
Furnishing Information on this form                  Stephanie M. Hinds                          TO U.S. CUSTODY
                              IB] U.S. Attorney      □    Other U.S. Agency
Name of Assistant U.S.                                                                           D    This report amends AO 257 previously submitted
Attorney (if assigned)                       Michael Pitman
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
        0 SUMMONS             � NO PROCESS*                0 WARRANT               Bail Amount:
       If Summons, complete following:
        D   Arraignment       D
                           Initial Appearance                                      * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
       Defendant Address:

                                                                                   Date/Time:                                  Before Judge:
                                                                                                                                                    --------
        Comments:
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